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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW HAMPSHIRE




        v.                          Case N o . 08-cr-161-02-SM

Alnardo Suarez




     R e : Document N o . 5 1 , Motion for Modification of Imposed Term
of Imprisonment Under 18 U.S.C. § 3582(c)(2)

       Ruling: Denied.     The motion is not treated as one filed
pursuant to 28 U.S.C. Section 2255. Neither the Fair Sentencing
Act of 2010, nor the Temporary Emergency Amendment to the
Sentencing Guidelines and Commentary, 75 Fed. Reg. 6 6 , 188 (Oct.
2 7 , 2010), effective November 1 , 2010, are retroactively applicable
to prisoners sentenced before the Act and Guidelines amendment
became effective. See United States v . Douglas, ___ F.Supp. 2d___,
2010 WL 4260221, at * 3 (D. M e . 2010) (“Another subject of debate
was whether the new penalties should apply retroactively to those
already sentenced and in prison, as the Commission’s 2007
amendments had done. The decision was no.” (citing United States
v . Bell, N o . 09-3908, 2010 WL 4103700, at * 10 (7th Cir. Oct. 2 0 ,
2010) (Fair Sentencing Act is not retroactive); United States v .
Brown, N o . 10-1791, 2010 WL 3958760, at *1 (8th Cir.2010) (same);
United States v . Carradine, N o . 08-3220, 2010 WL 3619799, at *5
(6th Cir. Sept. 2 0 , 2010) (Fair Sentencing Act “contains          no
express statement that it is retroactive nor can we infer any such
express intent from its plain language”). Defendant was sentenced,
and his sentence was affirmed on appeal, well before the Act and
implementing temporary Guidelines amendment became effective.




Date:     November 4, 2010

                                                Chief Judge

cc:     Alnardo Suarez, pro se
        U.S. Attorney’s Office
